Case 2:04-cV-02451-.]P|\/|-de Document 16 Filed 08/15/05 Page 1 of 2 Page|D 23

 

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WESTERN DIVISION m M*V%M‘GOULD
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GARDEN CITY BOXING CLUB, INC. JU'DGMENT IN A C'IVIL CASE
VS

RAFAEL RAMIREZ and ALICIA
RAMIREZ, Individually and d/b/a

EL GALLO GIRO'S BILLIARD a/k/a

MARISCOS GALLO a/k/a MARISIOS

EL GALLO GIRIO RESTAURANT, and

EL GALLO GIRO's BILLIARD a/k/a

MARISCOS GALLO a/k/a MARISIOS EL

GALLO GIRIO RESTAURANT. CASE No= 04-2451 Ml/v

 

The parties having stipulated and agreed:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the
Stipulation of Dismissal filed August, L> , 2005, this case is
DISMISSED with prejudice.

101000 000

JON PHIPPS MCCALLA
UN TED STATES DIS'I`RIC‘T COURT

/@/\ /5 2005 THoMAsM.GouLD
Date(/) Clerk of Court

 

  
  

 

 

 

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with Rule 58 andfor 79('¢1) FHCP on ’ '

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This notice confirms a copy of the document docketed as number 16 in
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Honorable Jon McCalla
US DISTRICT COURT

